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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                  8:12CR135
                      Plaintiff,              )
                                              )
         vs.                                  )                    ORDER
                                              )
GREGORIO SMITH,                               )
                                              )
                      Defendant.              )
         This matter is before the court on the motion to continue by defendant Gregorio
Smith (Smith) (Filing No. 57). Smith seeks a continuance of the trial of this matter which
is scheduled for October 1, 2012. Smith’s counsel has represented to the court that Smith
will submit an affidavit wherein Smith represents that he consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act. Smith’s counsel represents that government’s counsel has no
objection to the motion. Upon consideration, the motion will be granted.


         IT IS ORDERED:
         1.    Smith's motion to continue trial (Filing No. 57) is granted.
         2.    Trial of this matter is re-scheduled for November 5, 2012, before Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
September 26, 2012, and November 5, 2012, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 26th day of September, 2012.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
